                       UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            SOUTHERN DIVISION
                              7:17-CR-00035-D-9




UNITED STATES OF AMERICA

    v.                                                   ORDER

ANDRES GARZA




         THIS CAUSE came on to be heard and was heard upon the Defendant's Motion

to Seal the Sentencing Memorandum, which is docket entry number 692. The Court is of

the opinion that this document should be filed under seal in the interest of justice.

         IT IS, THEREFORE ORDERED that the requested document is to be sealed and

be filed under seal.

         This the   1t.     day of January 2021.




                          T   HONORABLE JAMES C. DEVER III
                          UNITED STATES DISTRICT COURT JUDGE




     Case 7:17-cr-00035-D Document 695 Filed 01/12/21 Page 1 of 1
